
661 So.2d 19 (1994)
B.S., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 93-02281.
District Court of Appeal of Florida, Second District.
October 7, 1994.
Lewis E. Garlisi, Tampa, for appellant.
Robert A. Butterworth, Atty. Gen., Tallahassee, and William I. Munsey, Jr., Asst. Atty. Gen., Tampa, for appellee.
PER CURIAM.
We affirm the portion of the trial court's adjudication of delinquency that determined B.S. had violated section 828.12(2), Florida Statutes (1991), by torturing an animal with intent to inflict intense pain or death. We reverse the portion of the adjudication that committed B.S. to an indeterminate term of community control. Such term is impermissible because it will last beyond the five-year statutory maximum sentence for a violation of section 828.12(2), a third-degree felony. See §§ 39.054(2) and 775.082(3)(d), Fla. Stat. (1991); R.H. v. State, 549 So.2d 742 (Fla. 2d DCA 1989). On remand, the trial court shall modify the adjudication to limit the term of community control to five years.
Affirmed in part, reversed in part, and remanded with directions.
ALTENBERND, A.C.J., and BLUE and LAZZARA, JJ., concur.
